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                             DECLARATION OF CATHERINE PEREZ

   I, Catherine Perez, Esq., hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746
   that the following is true and correct.

      1. I make this declaration based on my personal knowledge. If called to testify, I could and
         would do so competently and truthfully to these matters.

      2. I am the founding attorney of the Law Offices of Catherine Perez, PLLC, based in Doral,
         Florida. My firm has been providing legal representation for immigration matters in
         Miami since 2018. I am a licensed attorney in good standing with the Florida Bar. I have
         over 7 years of specialized experience in immigration law, including removal defense;
         family-based and humanitarian relief (VAWA, U, and T visas); and employment-based
         petitions such as EB-1 and EB-2.

      3. I represent E.R., who is now detained at “Alligator Alcatraz” in his immigration
         proceedings. He is afraid of being publicly named in this lawsuit. He is afraid of the
         stigma that would be associated with being detained at a facility where government
         officials have repeatedly indicated they will detain the “worst of the worst.” He is also
         afraid of harassment and physical harm that could result from retaliation and harassment
         by law enforcement, immigration officials, and members of the public.
      4. E.R. entered the United States without inspection on June 17, 2014, and has lived here for
         over ten years. He likely qualifies for Cancellation of Removal. E.R. previously
         attempted to adjust status under the Cuban Adjustment Act after marrying a lawful
         permanent resident of Cuban descent, but he relied on a notario who misrepresented their
         qualifications, and his application was denied. E.R. has a five-year-old U.S. citizen
         daughter. He has never been convicted of any crimes.

      5. On June 27, 2025, E.R. was stopped while driving on I-75 near Fort Myers. He has a
         valid driver’s license which he presented when asked. He was not cited or told the reason
         for the stop.

      6. E.R. was taken into government custody and initially held at a facility in Dania Beach,
         which I believe based on location and context was a county jail. He was then transferred
         into ICE custody. Within 24 hours, he was transferred to the Alligator Alcatraz facility. I
         was first informed of this transfer by E.R.’s wife.
      7. For five days, E.R. was entirely unreachable. Neither I nor his family knew his
         whereabouts, and he did not appear in the ICE online detainee locator during that time.
         We did not receive confirmation of his location until July 2, 2025. I spoke with E.R.’s
         wife the following day, on July 3, 2025.
      8. On July 2, 2025, E.R. was permitted a single five-minute phone call to his wife using a
         monitored, non-confidential line. To date, he has not been provided any confidential
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         means to speak with an attorney—and despite my efforts, I have been unable to obtain a
         confidential call with him.

      9. When I learned he had been transferred to the Alligator Alcatraz facility, I immediately
         attempted to locate him using ICE’s Online Detainee Locator System at
         https://locator.ice.gov/odls/#/search. The system returned no results under his A-number
         or date of birth. As of July 15, 2025, at 7:30 p.m., he still does not appear in the system
         (see Exhibit A).
      10. There is no apparent process for attorneys to safely and confidentially contact detained
          individuals at the “Alligator Alcatraz” facility. I attempted to reach the facility multiple
          times—by phone and email—to inquire about legal visits, legal calls, and how to
          communicate with my client. I received no meaningful response to any of my outreach.
      11. When I looked for a phone number for the facility, I could not find any. I searched
          multiple times at different times, but none was made publicly available.
      12. On July 7, 2025, I called the ICE Miami Field Office seeking information about how to
          access my client. I remained on hold for over 52 minutes before the call disconnected
          without reaching a representative. (Exhibit B).

      13. On July 10, 2025, at 5:09 p.m., I emailed three ICE officers letting them know that my
          attempts to schedule a legal call with my client have been unsuccessful, and requesting
          guidance on the method I should be using to reach my client. (Exhibit F).
      14. On July 10, 2025 at 6:13 p.m. I also emailed legal@privacy6.com and ICE’s Miami
          outreach email (Miami.Outreach@ice.dhs.gov) —again asking how to arrange a legal call
          or visit, or to identify who oversees my client’s case. (Exhibit C). My colleague at
          Gallardo Law also attempted contact and received a bounce-back message.
      15. On July 15, 2025, at 12:04 p.m., I sent a follow up email reiterating my need for a legal
          visit with E.R., as well as an additional prospective client. I reminded the recipients that I
          had written them with a request for a visit on July 10, 2025, but had not heard back. In
          my professional experience, it is unusual to have to request an appointment to conduct a
          legal visit at a detention facility in person – and even virtual or telephonic call requests
          can be scheduled to take place within 24 hours.

      16. I finally received an email response that day at 12:53 p.m. (see Exhibit D). Attached to
          the email was a Legal Counsel Visitation Form, as an attachment to an email which had
          never previously been disclosed or referenced. (see Exhibit E). Again, I have never had to
          fill out any such form for an in-person legal visit with my clients. Nevertheless, this form
          was returned by email according to the instructions to legal@privacy6.com. However, as
          of today, July 16th, 2025, no response has been received.
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      17. E.R. is detained in overcrowded, unsanitary, and harsh conditions with no access to or
          even infrastructure for obtaining legal counsel.

      18. E.R. reports being held in a housing unit with 32 other people. The bunks are basic, and
          there are three toilets, but there is no meaningful privacy. The bathroom is open from the
          waist up—people using it are visible to others in the unit.

      19. There are only three phones shared among the 32 individuals. Each person is limited to 4
          or 5 minutes per call and must wait in line again to call back. Because of poor signal
          strength, calls often drop after one or two minutes.

      20. E.R. told me that the facility does not post any information about how to reach an
          attorney, schedule a legal call, or contact ICE. Neither E.R. nor I have been informed of
          who his Deportation Officer is. No ICE official has contacted him. Based on my
          experience, detained individuals typically meet with ICE within a few days; it has now
          been more than two weeks.
      21. E.R. described the facility as essentially a tent structure with no enclosed space for legal
          visits. He reports that there is no cafeteria or private room available for confidential
          conversations. Around July 4, 2025, he told me there was flooding in the outdoor areas
          used for movement, restricting detainee access to outdoor time.
      22. He also reported that meals are inconsistent—some days only one or two boxed meals are
          provided, typically containing items like a sandwich and chips. There is no posted or
          predictable meal schedule.

      23. E.R. noted that mosquitoes continue to be a constant problem, making rest difficult. He
          received Tylenol when he had a sore throat but has not otherwise needed medical care.

      24. As a result of the barriers to access to counsel at the facility, our firm has been unable to
          provide legal services to our client. Due to these barriers, we have spent approximately 9
          hours of staff time and $3,150.00 in costs that we would not have otherwise incurred.
          This includes time spent attempting to obtain information about how to communicate
          with detainees, requesting access, and waiting at the facility only to be refused an in-
          person visit.

      25. Attached as Exhibits A through F are true and correct copies of communications and
          records documenting the barriers to legal access described in this declaration. These
          include:

      •   Exhibit A: search results for E.R. using the ICE Online Detainee Locator on July 15,
          2025 at 7:30 p.m.
      •   Exhibit B: phone call log from attempts to communicate with ICE re. Alligator Alcatraz
      •   Exhibit C: July 10, 2025 email to ICE Miami Field Office and other officials requesting
          assistance.
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       •   Exhibit D: July 15, 2025, email with response from legal@privacy6.com
       •   Exhibit E: Legal Counsel Visitation Request Form sent as an attachment July 15, 2025
       •   Exhibit F: July 10, 2025 Email to Deportation Officers

       26. E.R. has confirmed to me via phone that he wishes to be a plaintiff in this lawsuit to
           ensure confidential, private attorney communication.


   Executed on this 16th day of July, 2025, at Doral, Florida.


   /s/
   Catherine Perez, Esq.
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                                      EXHIBIT A

                      Search results for E.R. using the USCIS Online
                      Detainee Locator on July 15, 2025 at 7:30 p.m.
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                                    EXHIBIT B
                           Phone call log from attempts to
                       communicate with ICE re. Alligator Alcatraz
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                                      EXHIBIT C

                      July 10, 2025, email to ICE Miami Field Office
                          and other officials requesting assistance.
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                                      EXHIBIT D

                            July 15, 2025, email with response
                                from legal@privacy6.com
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                                      EXHIBIT E

                          Legal Counsel Visitation Request Form
                           sent as an attachment July 15, 2025.
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                                       EXHIBIT F

                        July 10, 2025 Email to Deportation Officers
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